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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN


ELIZABETH LOWING,

       Plaintiff,

v.                                                              CASE NO: 1:17-cv-650
                                                                HON: GORDON J. QUIST
JUSTIN VISSER, NEWAYGO COUNTY,
DALE GIBBS, and VILLAGE OF HESPERIA,
in their individual and official capacities,

       Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES                  ZAUSMER AUGUST & CALDWELL PC
 CHRISTOPHER J. TRAINOR (P42449)                   HEIDI D. HUDSON (P32495)
 SHAWN C. CABOT (P64021)                           Attorney for Ds Village of Hesperia and
 Attorneys for Plaintiff                           Dale Gibbs
 9750 Highland Road                                32255 Northwestern Hwy., Ste. 225
 White Lake, MI 48386                              Farmington Hills, MI 48334
 (248) 886-8650 / (248) 698-3321-fax               248-851-4111 / 248-851-0100-fax
 shawn.cabot@cjtrainor.com                         hhudson@zacfirm.com

                                      WILLIAMS HUGHES, PLLC
                                      DOUGLAS M. HUGHES (P30958)
                                      Attorney for Ds Village of Hesperia and
                                      Dale Gibbs
                                      120 W. Apple Avenue
                                      PO Box 599
                                      Muskegon, MI 49443-0599
                                      231-727-2119 / 231-727-2130-fax
                                      doughughes@williamshugheslaw.com
                                      CUMMINGS, MCCLOREY, DAVIS &
                                      ACHO
                                      HAIDER A. KAZIM (P66146)
                                      MATTHEW W. CROSS (P77526)
                                      Attorney for Defendants Visser and
                                      Newaygo
                                      310 W. Front Street, Suite 221
                                      Traverse City, MI 49684
                                      231-922-1888 / 231-922-9888
                                      hkazim@cmda-law.com
     PLAINTIFF’S MOTION TO COMPEL DISCOVERY AGAINST DEFENDANTS
                  VILLAGE OF HESPERIA AND DALE GIBBS
                     **ORAL ARGUMENT REQUESTED**


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       NOW COMES Plaintiff, by and through her attorneys, CHRISTOPHER TRAINOR &

ASSOCIATES, and for her Motion to Compel Discovery Against Defendants Village of Hesperia

and Dale Gibbs, states as follows:

1.     This is a police misconduct case which has been brought pursuant to 42 U.S.C. § 1983 and

§ 1988.

2.     On October 11, 2017, Plaintiff sent Defendants Dale Gibbs and Village of Hesperia

Plaintiff’s First Interrogatories and Plaintiff’s First Request for Production of Documents. (See

discovery requests as Exhibit A; See related Certificate of Service as Exhibit B).

3.     As of this writing, no response or objections to Plaintiff’s First Interrogatories or First

Requests for Production of Documents have been received by these Defendants.

4.     On December 12, 2017, Plaintiff served Plaintiff’s Second Request for Production of

Documents on Defendant Village of Hesperia. (See discovery requests as Exhibit C).

5.     On or about January 8, 2018, Defendant Village of Hesperia “responded” to Plaintiff’s

Second Request for Production of Documents; however, the “response” was nothing more than an

objection to the document requests wherein not a single document was produced.               (See

Defendant’s Response as Exhibit D).

6.     On March 1, 2018, the undersigned faxed written correspondence to Defendants Gibbs and

Hesperia’s attorneys (Ms. Heidi D. Hudson and Mr. Douglas M. Hughes) and requested that

responses to Plaintiff’s First Interrogatories and First Request for Production of Documents be

produced forthwith so as to avoid the filing of a Motion to Compel. (See faxed correspondence

as Exhibit E).

7.     The March 1, 2018, correspondence also addressed Defendant Village of Hesperia’s

“responses” to Plaintiff’s Second Request for Production of Documents; and indicated that the



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production of the documents by means of a CD would be fine (so as to minimize time and expense)

and requested that the undersigned be first notified if the copying fee was going to be in excess of

$50.00. (See Exhibit E).

8.      As of the date of this writing, not a single word from either Ms. Hudson or Mr. Hughes

regarding the discovery at issue has been uttered to the undersigned.

9.      On March 6, 2018, email correspondence was sent to attorneys Hughes and Hudson about

the discovery disputes set forth herein; and in that correspondence, both Counsel were warned that

Plaintiff would be seeking the Court’s intervention; and that if a Motion had to be filed, attorney

fees and costs would be sought. (See March 6, 2018 email as Exhibit F).

10.     Once again, the undersigned has heard nothing from opposing counsels as to the discovery

at issues set forth herein.

11.     Plaintiff has done everything he can to address the discovery disputes without having to

resort to judicial intervention; however, nothing else can be done.

12.     Depositions for this case are set to commence at the end of March and in April of 2018;

however, because Defendants Village of Hesperia and Gibbs have withheld and needlessly delayed

discovery, the depositions may have to be adjourned.

13.     That without the requested discovery, Plaintiff and Plaintiff’s Counsel will be unable to

adequately prepare for depositions and trial as permitted under the Federal Rules of Civil

Procedure.

14.     That the fair, effective, and efficient administration of justice requires this Honorable Court

to enter an Order compelling Defendants to produce discovery responses as requested herein.

15.     Plaintiff requests that an Order be entered requiring full, complete, and signed responses

to the disputed discovery be provided forthwith.




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16.    That pursuant to Federal Rule of Civil Procedure 37, attorney fees, costs, and any other

remedy this Court deems appropriate must be awarded to Plaintiff’s Counsel for having to being

the instant Motion.

17.    That pursuant to Local Rule 7.1(d), attempts to resolve the dispute were made as set forth

herein; however, the disputes remain outstanding.




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       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an Order

requiring Defendants Gibbs and Village of Hesperia to provide complete and signed responses to

Plaintiff’s First Interrogatories and First Request for Production of Documents (with objections

not being permitted); require Defendant Village of Hesperia to produce all documents requested

in Plaintiff’s Second Request for Production of Documents; order that objections to the discovery

requests are deemed waived; and award costs, attorney fees, or any other appropriate remedy to

Plaintiff as this Court deems appropriate and fair.

                                              Respectfully Submitted,
                                              CHRISTOPHER TRAINOR & ASSOCIATES

                                              s/ Shawn C. Cabot
                                              CHRISTOPHER J. TRAINOR (P42449)
                                              SHAWN C. CABOT (P64021)
                                              Attorneys for Plaintiff
                                              9750 Highland Road
                                              White Lake, MI 48386
                                              (248) 886-8650
                                              shawn.cabot@cjtrainor.com

Dated: March 26, 2018
SCC/

CERTIFICATE OF SERVICE
I hereby certify that on March 26, 2018, I electronically filed the foregoing paper with the Clerk
of the Court using the ECF system which will send notification of such filing to the following: all
attorneys of record and I hereby certify that I have mailed by United States Postal Service the
paper to the following non-ECF participants: None.

s/ Shawn C. Cabot
Christopher Trainor & Associates
9750 Highland Road
White Lake, MI 48386
Phone: (248) 886-8650
shawn.cabot@cjtrainor.com




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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN


ELIZABETH LOWING,

      Plaintiff,

v.                                                              CASE NO: 1:17-cv-650
                                                                HON: GORDON J. QUIST
JUSTIN VISSER, NEWAYGO COUNTY,
DALE GIBBS, and VILLAGE OF HESPERIA,
in their individual and official capacities,

      Defendants.

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 SHAWN C. CABOT (P64021)                           Attorney for Ds Village of Hesperia and
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 9750 Highland Road                                32255 Northwestern Hwy., Ste. 225
 White Lake, MI 48386                              Farmington Hills, MI 48334
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                                      120 W. Apple Avenue
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                                      Muskegon, MI 49443-0599
                                      231-727-2119 / 231-727-2130-fax
                                      doughughes@williamshugheslaw.com
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                                      Attorney for Defendants Visser and
                                      Newaygo
                                      310 W. Front Street, Suite 221
                                      Traverse City, MI 49684
                                      231-922-1888 / 231-922-9888
                                      hkazim@cmda-law.com
     BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY
       AGAINST DEFENDANTS VILLAGE OF HESPERIA AND DALE GIBBS



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                                         Legal Arguments

A.     Plaintiff’s First Interrogatories and Requests for Production of Documents

       Federal Rule of Civil Procedure 33(b)(2) and (b)(5) requires the responding party to serve

its signed answers and any objections within thirty (30) days after being served with the

Interrogatories. Going one step further, Federal Rule of Civil Procedure 33(b)(4) addresses the

issue of failing to respond timely, and states “[t]he grounds for objecting to an interrogatory must

be stated with specificity. Any ground not stated in a timely objection is waived unless the court,

for good cause, excuses the failure.”

       Regarding Requests for Production of Documents, according to Federal Rule of Civil

Procedure 34(b)(2)(A), the time to respond is also thirty (30) days. Regarding objections, Federal

Rule of Civil Procedure 34(b)(2)(C) states that “[a]n objection must state whether any responsive

materials are being withheld on the basis of that objection. An objection to part of a request must

specify the part and permit inspection of the rest.”

       As set forth in the attached motion, Defendants have refused to provide a single answer to

Plaintiff’s First Interrogatories and First Requests for Production of Documents despite written

correspondence requesting same and threatening judicial intervention. To that end, Plaintiff

requests that the discovery be produced forthwith and that Defendants produce same without being

permitted to object to same. Any objections sought to be used by Defendants should be deemed

waived and should not be permitted. See Fed. R. Civ. P. 33(b)(4); Lairy v. Detroit Med. Ctr., 2012

U.S. Dist. LEXIS 152972, *3-4 (E.D. Mich. 2012) (Exhibit G); Carfagno v. Jackson Nat’l Life

Ins. Co., 2001 U.S. Dist. LEXIS 1768, *3 (W.D. Mich. 2001) (Exhibit H).




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         Based upon the caselaw set forth above, Plaintiff is entitled to responses to her First

Interrogatories and Requests for Production of Documents from Defendant forthwith and without

being permitted to object to same.

B.       Plaintiff’s Second Request for Production of Documents

         In “responding” to Plaintiff’s Second Request for Production of Documents, Defendant

Village of Hesperia refused to produce any documents on the basis that “the described materials

are equally available to and/or are in the possession of Plaintiff [sic] counsel” or that Plaintiff’s

Counsel “access to these records.” (See Exhibit D). Defendant’s refusal to produce the requested

discovery runs contrary to the broad discovery rules and should not be condoned by this Honorable

Court.

         In the course of discovery, a party may request the production of documents that are in the

responding party’s possession, custody, or control. Fed. R. Civ. P. 34(a)(1). “[F]ederal courts

have consistently held that documents are deemed to be within the ‘possession, custody or control’

for purposes of Rule 34 if the party has actual possession, custody or control, or has the legal right

to obtain the documents on demand.” In re Bankers Trust Co., 61 F.3d 465, 469 (6th Cir. 1995).

         In the case of Shatsky v. Syrian Arab Republic, 312 F.R.D. 219, 223 (D.C. 2015), the court

was called upon to resolve a discovery dispute wherein the plaintiffs refused to provide various

documents because they were publicly available and were equally accessible to the defendants.

The court remarked that such a position by the plaintiff was “absurd.” Id. In ruling that the

documents had to be produced, the Court had this to say:

            The Federal Rules do not shield publicly available documents from discovery
            merely because of their accessibility. A limitation of this nature would lead
            to patently absurd consequences. Indeed, it would require litigants to scour
            the public domain for nuggets of information that their adversaries could
            potentially use against them—a task that is as Herculean as it is nonsensical.
            Litigation is not, nor has it ever been, an elaborate parlor game of “blind



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          man’s bluff.” See United States v. Proctor & Gamble Co., 356 U.S. 677, 682,
          78 S. Ct. 983, 2 L. Ed. 2d 1077 (1985). To the contrary, the federal discovery
          rules are designed to make litigation a “fair contest with the basic issues and
          facts disclosed to the fullest practicable extent.” Id. A system that would
          require litigants to divine from an ever-increasing universe of public data
          what their opponents might use to support their claims is hardly “fair” and it
          is certainly not just. It would, to put it mildly, do a grave disservice to our
          adversarial system.

Shatsky, supra at 224. Clearly, materials that are possessed by Defendants at the time

a document request was made, whether publicly available or not, must be produced;

because the Federal Rules of Civil Procedure allows a party to request documents that

are in the possession, custody, or control of the party being served.

                                      Conclusion

       Based upon the arguments and caselaw set forth herein, Plaintiff respectfully

requests an Order requiring Defendants to produce signed and complete responses (with

objections being waived) to Plaintiff’s First Interrogatories and Requests for Production

of Documents forthwith. Plaintiff also requests an Order that Defendant Village of

Hesperia provide the documents requested within Plaintiff’s Second Request for

Production of Documents forthwith.

                                              Respectfully Submitted,
                                              CHRISTOPHER TRAINOR & ASSOCIATES

                                              s/ Shawn C. Cabot
                                              CHRISTOPHER J. TRAINOR (P42449)
                                              SHAWN C. CABOT (P64021)
                                              Attorneys for Plaintiff
                                              9750 Highland Road
                                              White Lake, MI 48386
                                              (248) 886-8650
                                              shawn.cabot@cjtrainor.com

Dated: March 26, 2018
SCC/




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